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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,
                                              Criminal No.: 21-cr-626

    -v-                                       DEFENDANT GUNBY’S
                                              MEMORANDUM IN REPLY TO THE
    DEREK COOPER GUNBY,                       UNITED STATES’ OPPOSITION TO
                                              DEFENDANT’S MOTION TO
                            Defendant.        TRANSFER VENUE


            COMES NOW Defendant Derek Cooper Gunby (“Mr. Gunby”) with this

Memorandum in Reply to the United States’ Opposition to Defendant’s Motion to

Transfer Venue (ECF No. 43), filed on October 28, 2022.

            I.      INTRODUCTION

            The Government argues that Mr. Gunby’s motion to transfer venue should be

denied because the District of Columbia jury pool is not inherently biased against

January 6 defendants, and that twelve impartial jurors will likely be found among the

eligible residents of the District of Columbia during voir dire. ECF No. 43, at 11.

However, while the Government mentions that over eight-hundred individuals who

were present at the U.S. Capitol on January 6 have faced criminal charges, that

“[e]very judge on this Court to have ruled on a motion for change of venue in a

January 6 prosecution has denied the motion,” 1 and that multiple January 6-related

jury trials have already occurred, the Government astonishingly fails to recognize that

far more than twelve impartial individuals are required to prosecute the hundreds of

remaining January 6 trials, including the instant case. In a venue with the

characteristics of those in the District of Columbia jury pool, with substantial pretrial

publicity that continues to the present day, and with evidence of juror partiality, voir



1
    ECF No. 43, at 1 n.1.
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dire is unnecessary to uncover “so great a prejudice against the defendant” that would

require transferring the case to a district in which the defendant may receive a fair and

impartial trial. See Skilling v. United States, 561 U.S. 358, 378 (2010).

        II.    ARGUMENT

               A. The Skilling Factors Support a Presumption of Prejudice In The

                   Instant Case

        While the Constitution generally requires criminal trials to “be held in the

State where the said Crimes shall have been committed,” U.S. Const. Art. III, § 2,

cl.3, the venue is constitutionally required to be transferred when “extraordinary local

prejudice will prevent a fair trial.” Skilling, 561 U.S. at 378. While voir dire is

generally utilized to recognize and remove jury bias, “prejudice to the defendant’s

rights may be presumed” in “extreme circumstances.” United States v. Haldeman,

559 F.2d 31, 63 (D.C. Cir. 1967). The Skilling factors which district courts generally

weigh to analyze whether a change of venue is warranted are: (1) the size and

characteristics of the community; (2) the nature and extent of the pretrial publicity; (3)

the proximity between publicity and the trial; and (4) evidence of juror partiality.

Skilling, 561 U.S. at 382-83. All of these factors warrant a change of venue in this

case.

                       1. The Size and Characteristics of the District of Columbia

                           Create Inherent Bias Against January 6 Defendants

        The Government argues that the fact that 90% of the District of Columbia’s

voters voted for the Democratic Party candidate in the 2020 Presidential Election is

irrelevant to the determination of venue. ECF No. 43, at 5-6. In support of its

argument, the Government cites “politically charged cases” involving “[h]igh-profile

individuals strongly associated with a particular party” that have been tried in the
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District of Columbia. Id. at 6-7. The Government states that “the fact that most

District residents voted against Donald Trump does not mean those residents could

not impartially consider the evidence against those charged in connection with the

events on January 6.” Id. at 7.

        However, the Government fails to recognize that none of the defendants in the

cited cases were tried simultaneously with over eight hundred other defendants being

charged with similar or identical crimes arising from the same event. The cited cases

involved few “high-profile individuals,” and each required only twelve impartial

individuals out of the entire eligible population of the District of Columbia. While

Mr. Gunby’s trial also requires only twelve impartial individuals, his trial will follow

multiple January 6-related jury trials. 2 The Government even recognizes that a total

of 239 prospective jurors underwent examination for the first five January 6-related

jury trials, which required a total of sixty “impartial” jurors to be found. 3

Presumably, these prospective jurors will not be invited to participate in jury selection

for other January 6 defendants. If every single January 6 defendant were to exercise

their Sixth Amendment rights to a jury trial, then approximately 48,000 individuals

would be summoned as potential jurors, and over 9,600 impartial individuals would

need to be identified.

        Moreover, despite the Government’s claims that “the voir dire that took place

[in the first five January 6-related jury trials] undermines the defendant’s claim that

prejudice should be presumed,” 4 the January 6 jury trials that have already occurred

indicate the intense bias felt by District of Columbia residents. During Guy Reffitt’s

jury selection, for example, several potential jurors “spoke passionately about their


2
  See CAPITOL BREACH CASES, U.S. DEP’T OF JUST., https://www.justice.gov/usao-dc/capitol-breach-
cases (last accessed Nov. 7, 2022).
3
  See ECF No. 43, at 16-19.
4
  ECF No. 43, at 16.
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fear during the attack on the Capitol and their disgust toward its perpetrators.” 5 Some

stated “outright that they could not be impartial toward Reffitt.” 6 One passionately

declared that he “felt like it was an attack on [his] home,” and another stated that

“Everybody who went in there is already guilty. . . . They should be prosecuted to the

max.” 7

          Furthermore, the Government conveniently ignores the fact that Matthew

Bledsoe’s potential jury pool was so biased that Chief Justice Howell pressured

potential jurors to claim impartiality in order to rehabilitate them and have a full jury. 8

During Bledsoe’s jury selection, potential jurors made statements such as “what

happened on January 6th is a stain in America’s History,” and some admitted that they

could not remain “fair and impartial.” 9 A courtroom observer noted, “[W]hat I saw

with my very own eyes and heard are potential jurors that are mostly biased towards

what happened on J6 – not just for Bledsoe’s actions, but for his political beliefs.” 10

Twelve jurors and two alternates were sworn in after “Chief Justice Beryl Howell

pressured the potential jurors that blatantly said they could not be impartial to agree

that they were capable of ‘ignoring their biases’ in order to salvage them for the jury,

until they finally agreed under the pressure.” 11 “If there were no rehabilitated jurors,

there would literally be no jury.” 12




5
  Katelyn Polantz et al., Jury Pool for First Capitol Riot Trial Still Stung by Attack, CNN (Feb. 28,
2022), https://www.cnn.com/2022/02/28/politics/reffitt-january-6-trial-jury-pool.
6
  Id.
7
  Id.
8
  Cara Castronuova, Gateway Pundit: Polls Show Extreme Jury Bias In January 6 Trials, YOUR NEWS
(July 19, 2022), https://yournews.com/2022/07/19/2380134/gateway-pundit-polls-show-extreme-jury-
bias-in-january-6/.
9
  Id.
10
   Id.
11
   Id.
12
   Id.
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        Similarly, during Stewart Rhodes’s jury selection, “it became clear that for

many DC residents, the emotions of January 6 are still raw.” 13 Multiple potential

jurors felt biased against January 6 defendants because of the proximity of the January

6 events to the potential jurors’ homes. 14 Others called the events “disconcerting,”

and another cried. 15

        While it is clearly apparent that many January 6 defendants chose to forego

jury trials, the jury selections that have already occurred have demonstrated the

difficulty in finding impartial jurors in the District of Columbia. As of October 6,

2022, approximately 412 January 6 defendants had pleaded guilty, 21 defendants had

been found guilty at contested trials, and approximately 280 defendants had received

sentences. 16 The outcomes of the closed January 6 cases likely increase the bias that

the remaining January 6 defendants are guilty in the minds of District of Columbia

residents who may have previously been impartial.

                         2. The Nature and Extent of the Pretrial Publicity Heavily

                             Prejudices the District of Columbia Community

        The Government contends that a fair trial may be held in the District of

Columbia despite the volume of news coverage of January 6. 17 While Mr. Gunby’s

case does not “involve an inadmissible ‘confession or other blatantly prejudicial

information of the type readers or viewers could not reasonably be expected to shut

from sight,’” 18 the coverage of January 6, the January 6 House Select Committee,

Donald Trump’s subpoena by the January 6 Committee, new arrests, guilty pleas,


13
   Holmes Lybrand & Hannah Rabinowitz, DC Residents Say They Can Be Impartial As Potential
Jurors in Oath Keepers Trial But Emotions Remain Raw Over Jan. 6 Attack, CNN (Sept. 27, 2022),
https://www.cnn.com/2022/09/27/politics/oath-keepers-trial-jurors-january-6/index.html.
14
   Id.
15
   Id.
16
   21 MONTHS SINCE THE JAN. 6 ATTACK ON THE CAPITOL, U.S. DEP’T OF JUST.,
https://www.justice.gov/usao-dc/21-months-jan-6-attack-capitol (last accessed Nov. 7, 2022).
17
   ECF No. 43, at 12.
18
   Id.
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convictions, and sentences have remained relentless. 19 January 6 is likely to remain a

staple of daily news articles, as some tout that “the Justice Department still announces

multiple new arrests each week, and hundreds more rioters have been identified but

not yet charged. Federal prosecutors have told D.C. District Court Chief Judge Beryl

Howell that it’s ‘not an unreasonable expectation’ that more than 2,000 cases could be

filed.” 20

         As mentioned above, the more January 6 defendants that plead guilty and

become convicted of crimes identical to those which Mr. Gunby faces, the more likely

that publicity of those cases will lead the jury pool to assume that Mr. Gunby should

be found guilty as well. The Government claims that “[t]he Court can guard against

any spillover prejudice from the broader coverage of January 6 by conducting a

careful voir dire and properly instructing the jury about the need to determine a

defendant’s individual guilt.” 21 Further, the Government posits that “any threat of

such spillover prejudice is not limited to Washington, D.C. because much of the news

coverage of January 6 has been national in scope.” 22 However, as mentioned above,

courts have struggled to retain enough “impartial” jurors for the January 6-related

trials that have already occurred because potential jurors view the event as a whole as

an attack on their homes, and they presume that each defendant had a role in making

the jurors feel unsafe.




19
   A simple Google search of “January 6 news” returns multiple pages of news articles written about
January 6 within the past week alone.
20
   Sarah D. Wire, Ripples for Years to Come: What the Jan. 6 Cases Mean for the Judicial System, LOS
ANGELES TIMES (Oct. 31, 2022), https://www.latimes.com/politics/story/2022-10-31/jan-6-cases-
weigh-on-dc-court.
21
   ECF No. 43, at 13.
22
   Id.
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                         3. The Time Between January 6, 2021, and the Trial Will Be

                             Close to Two Years, But Pretrial Publicity Has Not

                             Diminished

         The Government argues that, because “20 months have already elapsed since

the events of January 6, and more time will elapse before trial,” enough time will have

elapsed to reduce juror bias. 23 The Government further contends that “Although

January 6 continues to be in the news, the ‘decibel level of media attention [has]

diminished somewhat.’” 24 However, as mentioned above, January 6 and all related

occurrences remain prominent in the news nearly every day. The amount of time that

has passed does not diminish the “raw emotions” that District of Columbia residents

still feel. 25

                         4. There Is Vast Evidence of Juror Partiality Against All

                             January 6 Defendants

         While Mr. Gunby has not yet faced a biased jury, the Courts have experienced

difficulty securing impartial juries in the January 6-related cases that have already

occurred, as mentioned above. Surely, securing an impartial jury will only become

more difficult as the jury pool dwindles and as potential jurors become more biased

upon being bombarded with continuous January 6-related news coverage.

         III.    CONCLUSION

         For the foregoing reasons, Mr. Gunby respectfully submits this memorandum

in reply to the Government’s Opposition to Defendant’s Motion to Transfer Venue.




23
   Id.
24
   Id.
25
   See Lybrand & Rabinowitz, supra note 12.
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Dated: November 8, 2022            Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 8, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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